          Case 4:21-cv-00941-JM Document 33 Filed 04/06/22 Page 1 of 1




                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                   CENTRAL DIVISION
STONE WORKS, LLC                                                                     PLAINTIFF

v.                                    Case No. 4:21cv941 JM

RANDY SIMS, MEGAN SIMS,
WILLIAM THOMAS, STONE CONCEPTS, LLC,
MARTY HESCH, and EDWARD FRALEY                                                  DEFENDANTS

                                              ORDER

       The Court has reviewed Defendant Edward Fraley’s motion for protective order (Doc.

30) and Plaintiff’s response. The motion is GRANTED in part and DENIED in part.          Mr. Fraley

is entitled to have the deposition taken in Springfield, Missouri. Those parties and attorneys

living in Little Rock are free to arrange to attend by videoconferencing.   Mr. Fraley’s request

that the Court forbid inquiry into the topics discussed in the motion is denied, except as to

questions regarding pricing information for Centurion’s products.

       IT IS SO ORDERED this 6th day of April, 2022.


                                                                                       _
                                                            UNITED STATES DISTRICT JUDGE
